                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                    KNOXVILLE DIVISION

  DAVID S. PITTINGTON,                                 )
                                                       )
                        Plaintiff,                     )
                                                       )
  v.                                                   )      No.: 3:14-cv-00397-PLR-DCP
                                                       )
  GREAT SMOKY MOUNTAIN LUMBERJACK                      )
  FEUD, LLC,                                           )
                                                       )
                        Defendant.                     )
                                                       )


                   PLAINTIFF’S STATUS REPORT REGARDING BILL OF COSTS


         In accordance with the Court Clerk’s directive (Doc. No. 106), Plaintiff David Pittington

  advises the Court as follows:

         Mr. Pittington sought costs and litigation expenses in the combined amount of

  $12,051.28. Of this total, $3,335.69 was submitted to the Court as litigation expenses not

  otherwise covered by Rule 54(d). Magistrate Judge Shirley reduced these litigation expenses by

  $5.49 and recommended an award of litigation expenses in the amount of $3,330.10. (Doc. No.

  97, Page ID # 3084). Magistrate Judge Shirley expressly reserved for later proceedings the issue

  of taxable costs. (Doc. No. 97, Page ID # 3083) (stating, “[T]he undersigned will only address the

  litigation expenses/costs that are not included in Plaintiff’s Bill of Costs.”). The Court adopted

  the Report and Recommendation and ordered Defendant to pay litigation expenses (excluding

  taxable costs) in the amount of $3,330.10. Defendant LJF has satisfied this portion. However,

  pursuant to the Court’s order staying the Bill of Costs, the remaining $8,715.59 (i.e. $12,051.28 -

  $3,335.69) remains taxable as costs. (See Doc. No. 92).




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          Mr. Pittington has incurred additional costs and litigation expenses throughout the

  appellate process. Pursuant to the Sixth Circuit’s mandate, there is no longer a final judgment

  for which Mr. Pittington can file a new or supplemental Bill of Costs; a final judgment will enter

  following the new trial on damages, which is scheduled to occur on September 11, 2018. Once

  the final judgment is entered, Mr. Pittington will submit a supplemental Bill of Costs, as well as a

  supplemental petition for attorney fees. However, since the new trial is only to determine the

  correct amount of damages, Plaintiff is still the prevailing party as a matter of law. Accordingly,

  Mr. Pittington respectfully asks the Court to proceed with an interim award of costs based on the

  Bill of Costs (Doc. No. 75) so as not to further deprive Mr. Pittington of these monies to which he

  is legally entitled.




                                                       RESPECTFULLY SUBMITTED,


                                                         s/ Jesse D. Nelson            ___________
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                                      CERTIFICATE OF SERVICE
          I certify that this pleading or document was served via the Court’s ECF Filing System on
  all users authorized and directed to receive such service, this 23rd day of July, 2018.


                                                         s/ Jesse D. Nelson



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